 1    Michael Gearin, WSBA # 20982                                Honorable Samuel J. Steiner
      David C. Neu, WSBA #33143                                   Chapter 11
 2    K&L GATES LLP                                               Ex Parte
      925 Fourth Avenue, Suite 2900
 3    Seattle, WA 98104-1158
      (206) 623-7580
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 8                                          UNITED STATES BANKRUPTCY COURT
                                            WESTERN DISTRICT OF WASHINGTON
 9                                                     AT SEATTLE

10    In re:                                                     Case No. 10-17952 (Jointly
                                                                 Administered)
11    MERIDIAN MORTGAGE INVESTORS
      FUND II, LLC;
      MERIDIAN MORTGAGE INVESTORS                                Case Nos: 10-17952; 10-17953; 10-
12
      FUND V, LLC;                                               17958; and 10-17976
13    MERIDIAN MORTGAGE INVESTORS
      FUND VII, LLC;                                             DECLARATION OF MICHAEL J.
14    MERIDIAN MORTGAGE INVESTORS                                GEARIN IN SUPPORT OF EX PARTE
      FUND VIII, LLC,                                            APPLICATION FOR ORDER
15                                                               AUTHORIZING EMPLOYMENT OF
                                                 Debtors.        K&L GATES LLP AS ATTORNEYS
16                                                               FOR TRUSTEE ON AN INTERIM
                                                                 BASIS
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18
                I, Michael J. Gearin, declare as follows:
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                1.        I am a partner in the law firm of K&L Gates LLP ("K&L Gates") and am duly
20
      authorized to practice law in this Court. I submit this declaration in support of the application to
21
      employ K&L Gates as counsel of Mark Calvert, the duly appointed Chapter 11 Trustee.
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                2.        K&L Gates has been asked to represent the Trustee in this case. K&L Gates and its
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      partners and associates are not creditors, equity security holders or insiders of the Debtors. I have
24
      caused a review of the firms’ computerized conflicts data base to be conducted for relationships
25
      between the firm and the Debtors, their principal, and all petitioning creditors and all creditors
26

      DECLARATION IN SUPPORT OF APPLICATION FOR
      ORDER AUTHORING EMPLOYMENT OF K&L GATES                                              K&L GATES LLP
      LLP AS ATTORNEYS FOR THE TRUSTEE - 1                                           925 FOURTH AVENUE, SUITE 2900
                                                                                    SEATTLE, WASHINGTON 98104-1158
      I:\Bankruptcy\Dec in Support Employ.doc                                           TELEPHONE: (206) 623-7580
                                                                                         FACSIMILE: (206) 623-7022

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 1
      appearing in the case to date. Based upon my review of the computerized conflicts data on file at
 2
      K&L Gates, and to the best of my knowledge, K&L Gates does not have an interest adverse to the
 3
      Debtors, to any class of creditors, or to any equity security holders. K&L Gates does not, to the best
 4
      of my knowledge, have any relationship with the United States Trustee or any person employed by
 5
      the United States Trustee.
 6
                3.        The following are likely to render the majority of legal services to the Trustee:
 7
                                    Attorney                            Hourly Rate
 8
                                    Michael Gearin                      $425.00
 9                                  David Neu                           $335.00
                                    Kjrsten Swan        Paralegal       $150.00
10

11    Other attorneys and professionals will provide services to the estate at hourly rates ranging from $75

12    to $600 per hour, subject to adjustments to reflect economic and other conditions, including

13    increases in experience and expertise of members of the firm.

14              4.        I certify that I am familiar with Local Rule 2016, governing applications for

15    compensation of professionals.

16              I declare under penalty of perjury under the laws of the State of Washington that the

17    foregoing is true and correct.

18              DATED this 22nd day of July, 2010.

19
                                                              /s/ Michael J. Gearin
20                                                                Michael J. Gearin

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      DECLARATION IN SUPPORT OF APPLICATION FOR
      ORDER AUTHORING EMPLOYMENT OF K&L GATES                                                 K&L GATES LLP
      LLP AS ATTORNEYS FOR THE TRUSTEE - 2                                              925 FOURTH AVENUE, SUITE 2900
                                                                                       SEATTLE, WASHINGTON 98104-1158
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